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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                   ENTERED
                       UNITED STATES DISTRICT COURT                             August 12, 2020
                        SOUTHERN DISTRICT OF TEXAS                             David J. Bradley, Clerk
                            HOUSTON DIVISION


Terry Katz                                   §
   Plaintiff,                                §
                                             §
                                             §
v.                                           §      Civil Action 4:18−cv−01347
                                             §
                                             §
Landon Suggs, et al.                         §
  Defendant.                                 §


                              ORDER OF DISMISSAL

     Counsel for the parties have advised the court that an amicable settlement has
been reached in this action. This case is dismissed on the merits, without prejudice to
the right of counsel to move for reinstatement within 60 days on presentation of
adequate proof that the settlement could not be consummated. All motions currently
pending are denied without prejudice. Any movant seeking to resubmit or reurge those
motions must do so within 14 days from the date any motion for reinstatement is filed.

     The court appreciates the prompt notification of settlement.

          Signed on August 12, 2020, at Houston, Texas.
